Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 1 of
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                                EXHIBIT A TO BILL OF COSTS OF
                                         DEFENDANT

                                Case No. 1:18-cv-03360-PAB-SKC

                  Itemization of Costs Requested Pursuant to 28 U.S.C. § 19201

Fees of Clerk and Marshal:
Private Process Server Costs.

According to the Guide, “[s]ervice of process or subpoena by a private process server is
awardable” upon a showing that the “prevailing party meets its burden, provides a sufficient
basis for use of the service, and requests a reasonable cost.” See Guide at 25. Defendant
further states that under 28 CFR § 0.114(a) the U.S. Marshal Service charges fees of $8.00
per item mailed, and $65.00 per hour for item served or executed personally.
1         Service of process fee for Subpoena to Produce served on Records                     $55.00
          Custodian for Cakeheads, Inc. (“Cakeheads”), for records related to
          Plaintiff’s employment with same (see Invoice dated 8/6/20,
          attached as Exhibit A-1).

          Defendant served this subpoena in order to obtain information
          regarding Plaintiff’s efforts to mitigate her economic damages.
2         Service of process fee for Subpoena to Produce served on Records                     $75.00
          Custodian for Great West Painting and Repair, Inc. (“Great West”),
          for records related to Plaintiff’s employment with same (see Invoice
          dated 8/6/20, attached as Exhibit A-2).

          Defendant served this subpoena in order to obtain information
          regarding Plaintiff’s efforts to mitigate her economic damages.
          SUBTOTAL OF FEES OF CLERK AND MARSHAL                                               $130.00

Fees of the court reporter for all or any part of the transcript necessarily obtained for
use in the case:




    1
     Defendant certifies that it has reviewed the Hearing Officer’s Guide to Bills of Costs for the
    United States District Court for the District of Colorado, available at
    http://www.cod.uscourts.gov/Portals/0/Documents/Forms/CivilForms/Hearing_Officer_Guide_t
    o_Taxation_of_Costs.pdf (the “Guide”), prior to submitting this Bill of Costs.



                                         EXHIBIT A
Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 2 of
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3       Certified copy of the deposition transcript and exhibits of Gerardo      $870.83
        Arellano, taken on 7/14/20 (Mr. Arellano appears as witness on the
        Final Pretrial Order [Dkt #51]; his deposition transcript was required
        for effective and necessary preparation for trial) (see Invoice dated
        7/23/20, attached as Exhibit A-3).

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1476-78 (10th
        Cir. 1997); In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144,
        1148-1149 (10th Cir. 2009) (“all § 1920 requires is that the
        generation of taxable materials be ‘reasonably necessary for use in’
        the case ‘at the time the expenses were incurred’”).
4       Certified copy of the deposition transcript and exhibits of Rule         $408.80
        30(b)(6) witness, Gerardo Arellano, taken on 7/13/20 20 (testimony
        cited in and attached to Defendant’s Motion for Summary Judgment
        [Dkt # 38] and Response to Plaintiff’s Motion for Partial Summary
        Judgment [Dkt # 45]) (see Invoice dated 7/30/20, attached as
        Exhibit A-4.)

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1476-78 (10th
        Cir. 1997); In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144,
        1148-1149 (10th Cir. 2009) (“all § 1920 requires is that the
        generation of taxable materials be ‘reasonably necessary for use in’
        the case ‘at the time the expenses were incurred’”).
5       Certified copy of the deposition transcript and exhibits of Stefanie     $343.92
        Coppedge taken on 7/29/20 (Ms. Coppedge appears as witness on
        the Final Pretrial Order [Dkt #51]; her deposition transcript was
        required for effective and necessary preparation for trial) (see
        Invoice dated 8/14/20, attached as Exhibit A-5).

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1476-78 (10th
        Cir. 1997); In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144,
        1148-1149 (10th Cir. 2009) (“all § 1920 requires is that the
        generation of taxable materials be ‘reasonably necessary for use in’
        the case ‘at the time the expenses were incurred’”).
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6       Same-day deposition change fee for reporting services for Plaintiff     $125.00
        Rebecca Brigham, rescheduled from 8/20/20 to 8/31/20 (testimony
        cited in and attached to Defendant’s Motion for Summary Judgment
        [Dkt # 38], Response to Plaintiff’s Motion for Partial Summary
        Judgment [Dkt # 45], and Defendant’s Reply in Support of Its
        Motion for Summary Judgment [Dkt # 48]), (See Invoice dated
        9/8/20, attached as Exhibit A-6).

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1476-78 (10th
        Cir. 1997); In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144,
        1148-1149 (10th Cir. 2009) (“all § 1920 requires is that the
        generation of taxable materials be ‘reasonably necessary for use in’
        the case ‘at the time the expenses were incurred’”).
7       Same-day deposition change fee for video services for Plaintiff         $285.00
        Rebecca Brigham, rescheduled from 8/20/20 to 8/31/20 (testimony
        cited in and attached to Defendant’s Motion for Summary Judgment
        [Dkt # 38], Response to Plaintiff’s Motion for Partial Summary
        Judgment [Dkt # 45], and Defendant’s Reply in Support of Its
        Motion for Summary Judgment [Dkt # 48]), (See Invoice dated
        9/8/20, attached as Exhibit A-7).

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1476-78 (10th
        Cir. 1997); In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144,
        1148-1149 (10th Cir. 2009) (“all § 1920 requires is that the
        generation of taxable materials be ‘reasonably necessary for use in’
        the case ‘at the time the expenses were incurred’”).
8       Certified copy of the deposition transcript and exhibits of Adrienne   $1,052.45
        Prince, taken on 8/21/20 (testimony cited in and attached to
        Defendant’s Motion for Summary Judgment [Dkt # 38] and
        Response to Plaintiff’s Motion for Partial Summary Judgment [Dkt #
        45]) (see Invoice dated 9/12/20, attached as Exhibit A-8).

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1476-78 (10th
        Cir. 1997); In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144,
        1148-1149 (10th Cir. 2009) (“all § 1920 requires is that the
        generation of taxable materials be ‘reasonably necessary for use in’
        the case ‘at the time the expenses were incurred’”).
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9       Video of the deposition of Adrienne Prince, taken on 8/21/20 20          $787.00
        (testimony cited in and attached to Defendant’s Motion for
        Summary Judgment [Dkt # 38] and Response to Plaintiff’s Motion
        for Partial Summary Judgment [Dkt # 45]) (see Invoice dated
        10/12/20, attached as Exhibit A-9).

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1477 (10th
        Cir. 1997); TCR Sports Broad. Holding, LLP v. Cable Audit Assocs.,
        Inc., 674 F. App’x 805, 809 (10th Cir. 2017) (“[Defendant] contends
        that obtaining videotaped depositions and transcripts was
        duplicative and unnecessary, that the videotaped depositions had
        no independent use, and that they were not relied on by the district
        court in granting summary judgment. We have previously rejected
        such a narrow reading of the deposition expenses authorized under
        § 1920.”); see also Maiteki v. Marten Transp. Ltd., No. 12-CV-2021-
        WJM-CBS, 2016 WL 3878502, at *7 (D. Colo. July 18, 2016), aff'd,
        682 F. App’x 695 (10th Cir. 2017) ("[T]he better practice is to allow
        the costs of both videotaped and stenographic depositions, absent
        some good reason not to do so.”).
10      Certified copy of the deposition transcript and exhibits of Plaintiff   $1,410.80
        Rebecca Brigham, taken on 8/31/20 (testimony cited in and
        attached to Defendant’s Motion for Summary Judgment [Dkt # 38],
        Response to Plaintiff’s Motion for Partial Summary Judgment [Dkt #
        45], and Defendant’s Reply in Support of Its Motion for Summary
        Judgment [Dkt # 48]), (see Invoice dated 9/22/20, attached as
        Exhibit A-10) .

        See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1476-78 (10th
        Cir. 1997); In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1144,
        1148-1149 (10th Cir. 2009) (“all § 1920 requires is that the
        generation of taxable materials be ‘reasonably necessary for use in’
        the case ‘at the time the expenses were incurred’”).
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11       Video of the deposition of Plaintiff Rebecca Brigham, taken on            $1,404.50
         8/31/20 (testimony cited in and attached to Defendant’s Motion for
         Summary Judgment [Dkt # 38], Response to Plaintiff’s Motion for
         Partial Summary Judgment [Dkt # 45], and Defendant’s Reply in
         Support of Its Motion for Summary Judgment [Dkt # 48]), (see
         Invoice dated 11/11/20, attached as Exhibit A-11).

         See Tilton v. Capital Cities/ABC, Inc., 115 F.3d 1471, 1477 (10th
         Cir. 1997); TCR Sports Broad. Holding, LLP v. Cable Audit Assocs.,
         Inc., 674 F. App’x 805, 809 (10th Cir. 2017) (“[Defendant] contends
         that obtaining videotaped depositions and transcripts was
         duplicative and unnecessary, that the videotaped depositions had
         no independent use, and that they were not relied on by the district
         court in granting summary judgment. We have previously rejected
         such a narrow reading of the deposition expenses authorized under
         § 1920.”); see also Maiteki v. Marten Transp. Ltd., No. 12-CV-2021-
         WJM-CBS, 2016 WL 3878502, at *7 (D. Colo. July 18, 2016), aff'd,
         682 F. App’x 695 (10th Cir. 2017) ("[T]he better practice is to allow
         the costs of both videotaped and stenographic depositions, absent
         some good reason not to do so.”).
         SUBTOTAL FOR FEES OF COURT REPORTERS:                                     $6,688.30
Fees and Disbursements for Printing:
Fees for Copies Used for Deposition Exhibits or Trial

According to the Guide, fees for copies are awardable when used for deposition exhibits or
for trial. See Guide at 5.
12       Fees for copies of potential exhibits to be used at the deposition of     $1660.39
         Gerardo Arellano as Rule 30(b)(6) Witness (see Invoice Dated
         7/7/20, attached as Exhibit A-12).
13       Fees for printing of both sides’ expert witness reports to be used for      $105.28
         trial preparation (see Invoice Dated 7/7/20, attached as Exhibit A-
         13).
14       Fees for printing all deposition transcripts and invoices to be used        $407.11
         for trial preparation (see Invoice Dated 7/7/20, attached as Exhibit
         A-13).
         SUBTOTAL FOR FEES AND DISBURSEMENTS FOR PRINTING:                         $2,172.78

Other costs:
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ESI Processing Costs

According to the Guide, ESI costs are recoverable to the extent they relate to “the
scanning, conversion, and transfer/copying of data that conforms with 28 U.S.C. § 1920(4).”
See Guide at 39-40. See also Nero v. Am. Family Mut. Ins. Co., No. 11-CV-02717-PAB-MJW,
2013 WL 5323262, at *2 (D. Colo. Sept. 23, 2013).

Each of the ESI costs below relate solely to the scanning, conversion, and/or transfer /
copying of data in order for purposes of in this case. Defendant has removed costs relating to
the storage or hosting of data.
15       ESI Processing, 3/31/20 (see Invoice dated 4/27/20, attached as               $40.14
         Exhibit A-14).
         SUBTOTAL FOR OTHER COSTS                                                      $40.14


         TOTAL COSTS:                                                               $9,031.22
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                               EXHIBIT A-1
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                               EXHIBIT A-2
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                                          22



                                                                                    INVOICE                                                  1 of 1
                                                                                   Invoice No.             Invoice Date            Job No.
                                                                                       159627               7/23/2020              146284
                                                                                    Job Date                            Case No.
                                                                                      7/14/2020                 19-cv-03417-WJM-STV
                                                                                                           Case Name
                                                                                Brigham vs. Frontier Airlines, Inc.

       Danielle L. Kitson
       Littler Mendelson, P.C.                                                                          Payment Terms
       1900 16th Street, Suite 800
       Denver, CO 80202                                                                                 Due upon receipt




 DEPOSITION COPY OF:
      Gerardo Arellano                                                                                                                   744.30
                                                                                      TOTAL DUE >>>                                     $744.30


                                                                                      AFTER 8/22/2020 PAY                               $870.83
 Invoice prepared for:
 ROCKY MOUNTAIN REPORTING

 Payment is NOT contingent upon client reimbursement.

 Please visit our website at https://payments.crcnational.com for fast, safe and secure online invoice payment.
                                                                                         ( - ) Payments/Credits:                             0.00
                                                                                         (+) Finance Charges/Debits:                     126.53
                                                                                         (=) New Balance:                               $870.83




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Danielle L. Kitson                                                          Invoice No.       : 159627
  Littler Mendelson, P.C.                                                     Invoice Date      : 7/23/2020
  1900 16th Street, Suite 800                                                 Total Due         : $870.83
  Denver, CO 80202




                                                                              Job No.           : 146284
Remit To: Court Reporters Clearinghouse, Inc.                                 BU ID             : DENVER
          1225 North Loop West, Suite 327                                     Case No.          : 19-cv-03417-WJM-STV
          Houston, TX 77008
                                                                              Case Name         : Brigham vs. Frontier Airlines, Inc.

                                                        EXHIBIT A-3
      Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 10
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                                                                                    INVOICE                                                  1 of 1
                                                                                   Invoice No.             Invoice Date            Job No.
                                                                                       159786               7/30/2020              146285
                                                                                    Job Date                            Case No.
                                                                                      7/13/2020                 19-cv-03417-WJM-STV
                                                                                                           Case Name
                                                                                Brigham vs. Frontier Airlines, Inc.

       Danielle L. Kitson
       Littler Mendelson, P.C.                                                                          Payment Terms
       1900 16th Street, Suite 800
       Denver, CO 80202                                                                                 Due upon receipt




 DEPOSITION COPY OF:
      Gerardo Arellano                                                                                                                   349.40
                                                                                      TOTAL DUE >>>                                     $349.40


                                                                                      AFTER 8/29/2020 PAY                               $408.80
 Invoice prepared for:
 ROCKY MOUNTAIN REPORTING

 Payment is NOT contingent upon client reimbursement.

 Please visit our website at https://payments.crcnational.com for fast, safe and secure online invoice payment.
                                                                                         ( - ) Payments/Credits:                             0.00
                                                                                         (+) Finance Charges/Debits:                        59.40
                                                                                         (=) New Balance:                               $408.80




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Danielle L. Kitson                                                          Invoice No.       : 159786
  Littler Mendelson, P.C.                                                     Invoice Date      : 7/30/2020
  1900 16th Street, Suite 800                                                 Total Due         : $408.80
  Denver, CO 80202




                                                                              Job No.           : 146285
Remit To: Court Reporters Clearinghouse, Inc.                                 BU ID             : DENVER
          1225 North Loop West, Suite 327                                     Case No.          : 19-cv-03417-WJM-STV
          Houston, TX 77008
                                                                              Case Name         : Brigham vs. Frontier Airlines, Inc.

                                                        EXHIBIT A-4
      Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 11
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                                                                                    INVOICE                                                  1 of 1
                                                                                   Invoice No.             Invoice Date            Job No.
                                                                                       160108               8/14/2020              147326
                                                                                    Job Date                            Case No.
                                                                                      7/29/2020                 19-cv-03417-WJM-STV
                                                                                                           Case Name
                                                                                Brigham vs. Frontier Airlines, Inc.

       Danielle L. Kitson
       Littler Mendelson, P.C.                                                                          Payment Terms
       1900 16th Street, Suite 800
       Denver, CO 80202                                                                                 Due upon receipt




 DEPOSITION COPY OF:
      Stefanie Coppedge                                                                                                                  293.95
                                                                                      TOTAL DUE >>>                                     $293.95


                                                                                      AFTER 9/13/2020 PAY                               $343.92
 Invoice prepared for:
 ROCKY MOUNTAIN REPORTING

 Payment is NOT contingent upon client reimbursement.

 Please visit our website at https://payments.crcnational.com for fast, safe and secure online invoice payment.
                                                                                         ( - ) Payments/Credits:                             0.00
                                                                                         (+) Finance Charges/Debits:                        49.97
                                                                                         (=) New Balance:                               $343.92




Tax ID: XX-XXXXXXX
                                            Please detach bottom portion and return with payment.




  Danielle L. Kitson                                                          Invoice No.       : 160108
  Littler Mendelson, P.C.                                                     Invoice Date      : 8/14/2020
  1900 16th Street, Suite 800                                                 Total Due         : $343.92
  Denver, CO 80202




                                                                              Job No.           : 147326
Remit To: Court Reporters Clearinghouse, Inc.                                 BU ID             : DENVER
          1225 North Loop West, Suite 327                                     Case No.          : 19-cv-03417-WJM-STV
          Houston, TX 77008
                                                                              Case Name         : Brigham vs. Frontier Airlines, Inc.

                                                        EXHIBIT A-5
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                              EXHIBIT A-6
Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 13
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                              EXHIBIT A-7
             Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 14
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        Veritext Corporate Services LLC
        Tel. 973-410-4098 Email: Billing-Corp@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Matthew Kavanah                                                                                                                Invoice #:                 4526082
                    AIG/Chartis                                                                                                            Invoice Date:                 9/12/2020
                    175 Water Street
                    New York, NY, 10038                                                                                                    Balance Due:                        $0.00



        Case: Brigham, Rebecca v. Frontier Airlines, Inc. (19cv03417STV)                                                                     Proceeding Type: Depositions

        Job #: 4205084         |    Job Date: 8/21/2020 | Delivery: Normal                                                    Adj. email            REDACTED
                                                                                                                               address:
        Location:                  Denver, CO
                                                                                                                                Adjuster:                        Rebecca Barton
        Billing Atty:              Matthew Kavanah
                                                                                                                     Claim #/Matter #:                            9743858236US
        Scheduling Atty:           Carolyn B. Theis Esq | Littler Mendelson PC

        Witness: Adrienne Prince                                                                                             Quantity                    Price             Amount

                    Original with 1 Certified Transcript                                                                        169.00                   $3.35              $566.15

                    Attendance - Per Session                                                                                       1.00                  $0.00                 $0.00

                    Exhibits                                                                                                    166.00                   $0.30               $49.80

                    Veritext Virtual Primary Participants                                                                          1.00               $195.00               $195.00

                    Veritext Virtual Participants                                                                                  1.00               $195.00               $195.00

                    Litigation Package-Secure File Suite                                                                           1.00                $24.00                $24.00

                    Witness Read and Sign Services                                                                                 1.00                $22.50                $22.50

                    Electronic Delivery and Handling                                                                               1.00                  $0.00                 $0.00

        Notes:                                                                                                                               Invoice Total:              $1,052.45
                                                                                                                                                   Payment:            ($1,052.45)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                    Interest:                  $0.00
                                                                                                                                             Balance Due:                      $0.00
        TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
        including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
        please consult http://www.veritext.com/services/all-services/services-information




         Please remit payment to:                                                                                                                  Invoice #:                4526082
         Veritext                                            To pay online, go to www.veritext.com                                            Invoice Date:                9/12/2020
         P.O. Box 71303                                                Veritext accepts all major credit cards
         Chicago IL 60694-1303                                     (American Express, Mastercard, Visa, Discover)                             Balance Due:                       $0.00
57725    Fed. Tax ID: XX-XXXXXXX

                                                                            EXHIBIT A-8
             Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 15
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        Veritext Corporate Services LLC
        Tel. 973-410-4098 Email: Billing-Corp@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Matthew Kavanah                                                                                                                Invoice #:                 4585362
                    AIG/Chartis                                                                                                            Invoice Date:                10/12/2020
                    175 Water Street
                    New York, NY, 10038                                                                                                    Balance Due:                        $0.00



        Case: Brigham, Rebecca v. Frontier Airlines, Inc. (19cv03417STV)                                                                     Proceeding Type: Depositions

        Job #: 4205084         |    Job Date: 8/21/2020 | Delivery: Normal                                                    Adj. email            REDACTED
                                                                                                                               address:
        Location:                  Denver, CO
                                                                                                                                Adjuster:                        Rebecca Barton
        Billing Atty:              Matthew Kavanah
                                                                                                                     Claim #/Matter #:                            9743858236US
        Scheduling Atty:           Carolyn B. Theis Esq | Littler Mendelson PC

        Witness: Adrienne Prince                                                                                             Quantity                    Price             Amount

                    Video - Initial Services                                                                                       1.00                $95.00                $95.00

                    Video - Additional Hours                                                                                       3.00                $95.00               $285.00

                    Video - Exhibits - Linked (LEF, PTZ, XMEF, SBF)                                                                1.00               $100.00               $100.00

                    Video - Media and Cloud Services                                                                               1.00                $22.00                $22.00

                    Video - Electronic Access                                                                                      1.00                  $0.00                 $0.00

                    Video - Digitizing & Transcript Synchronization                                                                3.00                $95.00               $285.00

        Notes:      This invoice replaces CS4559541                                                                                          Invoice Total:                 $787.00
                                                                                                                                                   Payment:               ($787.00)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                    Interest:                  $0.00
                                                                                                                                             Balance Due:                      $0.00
        TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
        including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
        please consult http://www.veritext.com/services/all-services/services-information




         Please remit payment to:                                                                                                                  Invoice #:                4585362
         Veritext                                            To pay online, go to www.veritext.com                                            Invoice Date:              10/12/2020
         P.O. Box 71303                                                Veritext accepts all major credit cards
         Chicago IL 60694-1303                                     (American Express, Mastercard, Visa, Discover)                             Balance Due:                       $0.00
57725    Fed. Tax ID: XX-XXXXXXX

                                                                            EXHIBIT A-9
             Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 16
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        Veritext Corporate Services LLC
        Tel. 973-410-4098 Email: Billing-Corp@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Matthew Kavanah                                                                                                                Invoice #:                 4542789
                    AIG/Chartis                                                                                                            Invoice Date:                 9/22/2020
                    175 Water Street
                    New York, NY, 10038                                                                                                    Balance Due:                        $0.00



        Case: Brigham, Rebecca v. Frontier Airlines, Inc. (19cv03417WJMSTV)                                                                  Proceeding Type: Depositions

        Job #: 4229140         |    Job Date: 8/31/2020 | Delivery: Normal                                                    Adj. email            REDACTED
                                                                                                                               address:
        Location:                  Denver, CO
                                                                                                                                Adjuster:                        Rebecca Barton
        Billing Atty:              Matthew Kavanah
                                                                                                                     Claim #/Matter #:                            9743858236US
        Scheduling Atty:           Carolyn B. Theis Esq | Littler Mendelson PC

        Witness: Rebecca Brigham                                                                                             Quantity                    Price             Amount

                    Original with 1 Certified Transcript                                                                        282.00                   $3.35              $944.70

                    Attendance (Hourly)                                                                                            1.00                  $0.00                 $0.00

                    Exhibits - Color                                                                                            152.00                   $1.00              $152.00

                    Exhibits                                                                                                    242.00                   $0.30               $72.60

                    Veritext Virtual Primary Participants                                                                          1.00               $195.00               $195.00

                    Litigation Package-Secure File Suite                                                                           1.00                $24.00                $24.00

                    Witness Read and Sign Services                                                                                 1.00                $22.50                $22.50

                    Electronic Delivery and Handling                                                                               1.00                  $0.00                 $0.00

        Notes:                                                                                                                               Invoice Total:              $1,410.80
                                                                                                                                                   Payment:            ($1,410.80)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                    Interest:                  $0.00
                                                                                                                                             Balance Due:                      $0.00
        TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
        including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
        please consult http://www.veritext.com/services/all-services/services-information




         Please remit payment to:                                                                                                                  Invoice #:                4542789
         Veritext                                            To pay online, go to www.veritext.com                                            Invoice Date:                9/22/2020
         P.O. Box 71303                                                Veritext accepts all major credit cards
         Chicago IL 60694-1303                                     (American Express, Mastercard, Visa, Discover)                             Balance Due:                       $0.00
57725    Fed. Tax ID: XX-XXXXXXX

                                                                          EXHIBIT A-10
             Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 17
                                                 of 22

        Veritext Corporate Services LLC
        Tel. 973-410-4098 Email: Billing-Corp@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Matthew Kavanah                                                                                                                Invoice #:                 4648910
                    AIG/Chartis                                                                                                            Invoice Date:                11/11/2020
                    175 Water Street
                    New York, NY, 10038                                                                                                    Balance Due:                        $0.00



        Case: Brigham, Rebecca v. Frontier Airlines, Inc. (19cv03417WJMSTV)                                                                  Proceeding Type: Depositions

        Job #: 4229140         |    Job Date: 8/31/2020 | Delivery: Normal                                                    Adj. email            REDACTED
                                                                                                                               address:
        Location:                  Denver, CO
                                                                                                                                Adjuster:                        Rebecca Barton
        Billing Atty:              Matthew Kavanah
                                                                                                                     Claim #/Matter #:                            9743858236US
        Scheduling Atty:           Carolyn B. Theis Esq | Littler Mendelson PC

        Witness: Rebecca Brigham                                                                                             Quantity                    Price             Amount

                    Video - Initial Services                                                                                       1.00                $95.00                $95.00

                    Video - Additional Hours                                                                                       6.00                $95.00               $570.00

                    Video - Extended Hours                                                                                         1.00               $142.50               $142.50

                    Video - Exhibits - Linked (LEF, PTZ, XMEF, SBF)                                                                1.00               $100.00               $100.00

                    Video - Media and Cloud Services                                                                               1.00                $22.00                $22.00

                    Video - Electronic Access                                                                                      1.00                  $0.00                 $0.00

                    Video - Digitizing & Transcript Synchronization                                                                5.00                $95.00               $475.00

        Notes:                                                                                                                               Invoice Total:              $1,404.50
                                                                                                                                                   Payment:            ($1,404.50)
                                                                                                                                                       Credit:                 $0.00
                                                                                                                                                    Interest:                  $0.00
                                                                                                                                             Balance Due:                      $0.00
        TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to pay all collection costs,
        including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after 90 days. For more information on charges related to our services
        please consult http://www.veritext.com/services/all-services/services-information




         Please remit payment to:                                                                                                                  Invoice #:                4648910
         Veritext                                            To pay online, go to www.veritext.com                                            Invoice Date:              11/11/2020
         P.O. Box 71303                                                Veritext accepts all major credit cards
         Chicago IL 60694-1303                                     (American Express, Mastercard, Visa, Discover)                             Balance Due:                       $0.00
57725    Fed. Tax ID: XX-XXXXXXX

                                                                          EXHIBIT A-11
Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 18
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                             REDACTED




                             EXHIBIT A-12
Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 19
                                    of 22




                       REDACTED




                             EXHIBIT A-13
  Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 20
                                      of 22


                                                                                                     INVOICE




   DATE:     April 27, 2020

  CLIENT:    FRONTIER AIRLINES, INC.
             MR. HOWARD DIAMOND, SVP, GENERAL COUNSEL & SECRETARY
             4545 AIRPORT WAY
             DENVER, CO 80239
             EMAIL INVOICES:

             Privileged & Confidential

  CLIENT
 MATTER
NUMBER:      057446.1017

 MATTER:     BRIGHAM, REBECCA

  BILLING
ATTORNEY:    01943 Erin A. Webber

 INVOICE:    5216835


   YOUR
INSURED:     FRONTIER AIRLINES

DEDUCTIBLE

   CLAIM
ADJUSTER:    REBECCA BARTON

  CLAIM#:

INSURANCE
 CARRIER:    AIG

CLAIMANT
   NAME:     REBECCA BRIGHAM

 POLICY
NUMBER:




                                          Payment due upon receipt

                    LITTLER MENDELSON P.C. ** For inquiries related to this invoice, please email: billingsupport@littler.com **


                                            EXHIBIT A-14
  Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 21
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  DATE:    April 27, 2020                                        Invoice No. 5216835

  CLIENT                                                                        Page 2
 MATTER
NUMBER:    057446.1017

 CLIENT:   FRONTIER AIRLINES, INC.

MATTER:    BRIGHAM, REBECCA

           Legal Services for the period ending March 31, 2020

           Total Fees for Services Rendered
           Total Disbursements
           Total Amount Due This Invoice

           Cumulative Fees:
           Cumulative Expenses:
  Case No. 1:19-cv-03417-WJM-STV Document 61-1 filed 09/10/21 USDC Colorado pg 22
                                      of 22

  DATE:    April 27, 2020                                        Invoice No. 5216835

  CLIENT                                                                      Page 10
 MATTER
NUMBER:    057446.1017

 CLIENT:   FRONTIER AIRLINES, INC.

MATTER:    BRIGHAM, REBECCA


           Disbursements

           Date      Description                                              Amount
           03/31/20 ESI PROCESSING             1                                 40.14

           Total Disbursements



           Total Amount Due For This Invoice
